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August 13, 2019

THANK YOU FOR YOUR BUSINESS!

Office of the Monitor
INVOICE FOR PROFESIONAL SERVICES
OFFICE OF THE MONITORS
DATE DESCRIPTION HOURS
7/24/2019 Reading of Monitors Report about protest in Fortaleza. 4
7/27/2019 Reading and analysis of Monitors Reports of protest and 05
submission of recomendarions.
Reading and analisis of aticles published by NY Times and
7/27/2019 conferences with a Castellanos about the Preliminary Reports of 1
Monitor Office.
TOTAL HOURS: 2.5
RATE HOURS: | $ 125.00
SUBTOTAL: | $ 312.50
LESS RETAINER: | $ -
TOTAL AMOUNT DUE: } $ 312.50

